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CONGREGATION SHOMREI EMUNAH

 

April 3, 2023

To Whom It May Concern:

Jonathan Gross is a congregant of Congregation Shomrei Emunah, an Orthodox Synagogue in
Baltimore. Jonathan attends our daily services and is an active member of our congregation. As a
strictly observant Orthodox Jew, he does not work on the Sabbath or any of the Jewish holidays.
This year, the holiday of Passover begins on Wednesday evening, April 5 and ends on Thursday
evening, April 13. Jonathan will be observing the entire holiday according to strict Orthodox
Jewish law and therefore it would not be possible for him to appear for trial during this time.

Please feel free to call me with any questions.

Thank you for your consideration.

Sincerely, i

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(Le Voy 9) Mb
Rabbi Binyamin Marwick
Rabbi, Congregation Shomrei Emunah

 

RABBI BINYAMIN MARWICK, RABBI ¢ ITZ! BARR, PRESIDENT *

VICE PRESIDENTS: BORUCH BERNSTEIN * BINYANIM GUTTMAN ¢ JOE HIRSCH * MORDY LAZAR *AVI ZUCKERBROD ¢

 

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